16
Ll
£2
13
14
15
16
17
£&
19
26
21
22
23
24
25
°26
27
28

29

BILL LIETZKE
GENERAL DELIVERY ~

135 CATOMA STREET
MONTGOMERY, ALABAMA 36104 : RECEIVED

IN THE UNITED STATES DiIstarct Court APR 12 2949

: Us plire ‘SD eee
; fu eg whe COURT

IPB oe ee
AN CAO AGE ei,

BILL LIETZRE, CASE NO.

PLAINTIFF,

CIVIL RIGHTS VIOLATIONS

)
)
)
)
VS. )
} LIBEL AND SLANDER
}
)
)
}

CITY OF MONTGOMERY, ET AL,
KEVIN MURPHY,

DEFENDANTS.

1. Jurisdiction founded on the existence of a federal question and
amount in controversy.

2. The action arises under the Constitution of the United States,
Article III, Section II, as hereinafter more fully appears.

3. The amount in controversy exceeds, exclusive of interests and
costs, the sum of $1,000,000,000.00

4. Civil rights violations case filed under Title 28, U. S. C.,
Seetion 1331, Federal Question Jurisdiction, and Title 42, U. S. ¢.,
Section 1983, Civil Rights Cases,

53. Federal district courts ordinarily follow state law determining
the bounds of their jurisdiction over persons. Daimler Ag vs. Bauman,
134 8, Ct. 746, 753 (2014). This is because the federal district court's
authority to assert personal jurisdiction in most cases is linked to
service of process on a defendant who is subject to the jurisdiction of
@ court of general jurisdiction in the state where the district court is
Located. Fed, R. Civ. FP, 4(k)(1)(4). Nevada bas authorized its courts
to exercise jurisdiction over persons on any basis not inconsistent with

the United States Constitution,

Case 3:19-cv-00105-TMB Document1 Filed 04/12/19 Page 1of3
10
Ll
12
13
14
15
16

1?

19
20
21
22
23
24
25
26

a7

6. On or about January 30, 201 , through Montgomery police officers,

the City of Montgomery, Et Al violated the Plaintif£'’s civil rights

detaining the Plaintiff without lawful privilege and without probable cause

therefor at alleged "First Baptist Church Montgomery," 305 South Perry

Street at intersection of South Perry Street and Scott Street.

7. Thereafter, City of Montgomery police officers proceeded to defame

the Plaintiff's character by interrogating the Plaintiff as to who was it

that the Plaintiff was following.

City of Montgomery police continued to state that undisclosed,

unnamed persons from "First Baptist Church Montgomery,” 305 South Perry

Street called the City of Montgomery, Et Al with the false complaint and

false report that the Plaintiff was "following a woman," and at

some point

entered "First Baptist Church Montgomery,” 305 South Perry Street.

9. The Plaintiff catergorically denies all allegations of

any unlawful

activities the City of Montgomery, Et Al accused the Plaintiff of, and

demands this Court to disclose the identities of all third parties involved.

10. Unidentified, unspecified Defendants’ misconduct and City of

Montgomery police misconduct violated the Plaintiff's First Amendment and

Fifth Amendment rights of the United States Constitution,
ll, Righteous indignation and personal humiliation of the
was the direct and proximate result of LIBEL AND SLANDER of the
WHEREFORE, the Plaintiff is demanding Punitive, Actual, and
Damages, and judgment therefore, against all Defendants for the

of $2,500,000,000.00

Plaintiff
Defendants,
Compensatory

total sum

 

Submitting for filing ‘April 8, 2019°

Case 3:19-cv-00105-TMB Document1 Filed 04/12/19 Page 2 of 3
U.S.
WLS, POSTAGE Pai
ea MONTGOMERY, AL
Pode aenete Aue ony?
1060
3951 2
3 R2303$100738-01

BILL LIETZKE
GENERAL DELIVERY

135 CATOMA STREET
MONTGOMERY, ALABAMA 36104

UNITED STATES DISTRICT COURT
222 W 7TH AVENUE, RM 229
ANCHORAGE, ALASKA 99513

Case 3:19-cv-00105-TMB Document1 Filed 04/12/19 Page 3 of 3
